Case: 1:17-cv-01640 Document #: 137-1 Filed: 06/27/18 Page 1 of 24 PageID #:4114



                              INDEX OF EXHIBITS

EXHIBIT DESCRIPTION

  A.      April 14, 2014 Letter to Chase Bank from Troutman Sanders

  B.      May 7, 2014 Letter from Chase Bank
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                 EXHIBIT A
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Case: 1:17-cv-01640 Document #: 137-1 Filed: 06/27/18 Page 7 of 24 PageID #:4120




                  EXHIBIT B
   CHASE 0
         Case: 1:17-cv-01640 Document #: 137-1 Filed: 06/27/18 Page 8 of 24 PageID #:4121

                                                                                                                          J0PMorgan
To:              12127045925
From:           MARK.MORRIS@chase.com
Date:           May 07, 05:06:34 PM GMT
Subj:           Statements
Pages:          17




Here are the statements for April 30. We froze the accounts on April 23. You will note 3 debit card charges that paid on a/24.
That is because they were preauthorized before the freezes were placed, so we were obligated to pay them.

Mark D. Morris
Executive Director and Assistant General Counsel
JPMorgan Chase Bank, NA,
221 W. Sixth St.
MaUcode TX3-8225
Austin, Texas 78701
Telephone: (512) 479-2323
Fax: (512) 287-3118



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         CHASEO
        JPMercanchasi, flanl, NA..                                                            April01. 2014 thrcuqhApra an 2014
        PC Dcc 056754                                                                      Assort Nurnbajt                   1572
         Sanfrtonio.TX7a265_o754

                                                                                         CUSTOMER SERVICE INFORMATION
                                                                                        Web slto~                www.Chase,corn
        1.1 I,~,, ~M ,~ll’   n1141Ii,l I,1ih,,,, l~l I       I I ~I                     Service Cenlen            1-877-425-8100
        0002017 09B 703210 12114 NN        NN54N,wag     ‘   cccooc~cg rococo           Deaf and Haid of Hearing~ 1-800-242-7333
        IUXE ONE INC.                                                                   Para Espanof:             1-888-022-4273
        0G0~ TOPANGA CANYON BLVD UNIT 135                                               Intennafloral Calls:      I~7I 3-262-1679
        CHATSWORTF-f CA 91311 -3602




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     Manage your Business easier with Account Aloris
     Chase offers Account Aterlsi to help you manage all your business accounts. Choose
     the alerts and customize ti:&r settings.
    Chase Instant Action AlertsSM - Receive a text It your balance dips below zero a’ your
    preset limit, You can immediately respond with a text a transfer hinds, its last, easy
    and helps you avoid potential tees.
    Daily Atenls ‘Monitor the transaclions that exceed your thresholds with a daily tort or
    email Iron us.
    Securlt~ Alerts Set dollar limhs icr different transactions, Includino ATM withdrawals,
    debit card activLty, money transfers and online bill payments. Welt send a real-lime
    alert when a transaction exceeds your specified amount
    to learn more, visit t’n~.chase.cornThhaierIs
    IThere is no charge from Chase, but meosage and data rates may apply. Such charges Include
    those from yaur communications sewice Øro’Jider. Delivery of alerts may be delayed for
    va4ous roosor,a including service outages affecting you phone filL essor ,nter’-et
    provider technology failures and sys’em capac ,y I tidal ors Any limo sou roview Jo in
    balance, keep In mInd it may not reflect all transactions including recenl debit card
    transactions or chocks you have written. A qualilyinc Chase Iranstor account is required
    to transfer lunds via text




I_CHECKING                                          Chase Businosaselect Cheok~rtg
                                                             r4smNces                  AMOUNT
 BeginnIng Balance                                                                    5255.91
 Deposits and Additions                                              1               25,000,00
ATM & Debil Card Withdrawals                                         3                -215.43
Fees and Other Withdrawals                                                       -25,000.00
Ending Balance                                                       5               540.4G



~EPO3fl’S AND                   ~~pmONs
OATS             DoscnIpTioN                                                                                                AMOUNT
04(11            Online Transfer From Chk,..2853 Transactionft: 3859408703                                               525,000.00
Totat Deposits and AddItIons                                                                                             S25000:Qfl




                                                                                                                  nsa, 1 cS’
 Case: 1:17-cv-01640 Document #: 137-1 Filed: 06/27/18 Page 10 of 24 PageID #:4123




         CHASE C                                                                Apat 0., 2uIu   rough Aprsl 20, 2014
                                                                           Aecounc Numbe~                              1572


[~j~&~:t CARD W~ThDRM WK[S,___                                         _______                  ________


 PATE     DESCCIPTIQN                                                                                                   AMOUNT
 04/01    Card Purchase      03/30 Joeys Cafe West Hollyvico CA Card 1507                                               551.04
 04e0     Card Purchasa Win Pir 03131 Aroc Pa,r ol Son1a Monc~ C&. (,ard 1—07                                             439
 04107    ATM Withdrawal      QL/07 3a2 P ~o S’vd Sac t.~ Mcci ceCA Card 1507                                            80 02
Tolal ATM & Debit Card Withdrawals                                                                                     $21 5.43




[Atrc5Es~r CARD SUMMARY                                   ,__~                                  ____



Steven 3 Srown Card 1507
                          Total ATM Withdrawals & Debits                                                               $160.00
                          Total Card Purobases                                                                          $85.43
                          Total Card Deposits & Credits                                                                  woo
ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                               516000
                          Total Card Purchases                                                                          $55.43
                          Total Card Deposits & Credits                                                                  $000



~ES~NDOTHERW~THDRAwAtsj___~                                                                                       ____


PATE DESCRiPTION                                                                                                       AMOUNT
04/14 04/14 Withdrawal
                  -
                                                                                                                $25,000.00
Total Fees & Other Withdrawals                                                                                  525,000.00

{DAILY ENDING BALAN~]                                                                                                  ___


PATE                                                         AMOUNT
04/01                                                        5200,48
04/07                                                          40.46
04111                                                      25,040.48
04/N                                                           40.48

[WEñ’VICE GHA~UM~ARY _____________________________
TRANSACTIONS roe scautca FEE CALCULATIOu                                                    NUMbER OF TeANSACTIONS
Checks Paid / Debits                                                                                                       4
Deposits / Credits                                                                                                         0
Deposited Itenis                                                                                                           0
Transaction Thtal                                                                                                          4

SERVICE PEE CALCULATION                                                                                           AMOUNT
Service Fee                                                                                                            $0.00
SerAce Fee Credit                                                                                                      $0.00
Net Servicu Fee                                                                                                        $0.00
Excessive Tranàacban Fobs (Above 200~                                                                                  50.00

                                                                                                        r~,oe 2 cI 4
    Case: 1:17-cv-01640 Document #: 137-1 Filed: 06/27/18 Page 11 of 24 PageID #:4124



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     CHASE ~                                                                                          Ao’l ni 20th through AgrO 30. 2014

                                                                                                 Account Number;                           1572




  Note~ Ensure your checkbook register is up to date with all transecilons to data whether hey are inctudad on ~aur
        statement or not.


  1. Write in the Endinc Saiance shown on this statement:                                        Step I Balance: S__~__~
  2. List and total all deposits & additions not shown on this statement:

    Date   —       Amount               Data           Amount              Dale           Amount




                                                                                                     Stop 2 Total:       S__.
 3, Add Step 2 Total to        Step 1   Balance,                                                     Stop 3 Total:       $
 4, List arid total alt checks, ATM withdrowals, debit card pttreh~ses and other withdrawals
    not shown on this staienwrtt.

   Check Number or Date              Amount              Client; Numbet or Dale             Amount




                                                                                                     Step 4 Total:      -S
 5. Subtract Step 4 Total from Step 3 Total, This should match your Checkbook Balance:                                   S


  IN CASE OFERRORS OR OUESTIONS ADOUT YOUR ELECTRONIC FOlIOS TRANSFERS;Catt orwdw vs at tie phone number or address o’i
  the Iron Cf tots Staten en mon porso”at accounts contact Cu Ion or Sari cc) it ,ou think yo~r La en-art er retOol I ccc r ate I
  n’ed n-ore inlornatse about a I irstpr stud 09 the statement or recept Wi. trust hear ‘am yeu no t&or It aiGO <‘tys sttpr wi. or-I you
  the FtflSl’ statement on whtchthe mouton or error appeared. Se weparod to glee us the tot!owing intorrnalion:
              • Your name and account number
             • ‘rite dollar amount et ho suspected error
                A do lpltoi elite error or trar~ler ~ou .,re unsure ot w’ij coo LIt vs tI en Cr or wh~ you reed 09cr. IntOtnittion
 We wit raves gate your aornpkl it anti wtd cc real my s’ror prompt j tt we take n’o e It art 10 busnoss day (or 20 basin              r us tar
 trees accounts) to do this, we wilt credit your account toi the anietlnt you tiahik is in error so that you mitt hare use or the money dudng tue
 time it takes us to complete our ir2e5tIgatign,
 is caseta ERRORS OR QUESTIONS ABOUT 140N-ELEGTRONIC ThANsACTtDNscontact tie bank immediately it your statensentia
  nec eat gr you rged morn rforrr.hqn about inn nor alec on. trar.sact,on~ tohecks or dc-ia its) on nate clans:, It ii cut err.~
 aOpear~ ou rmut notrty he L’ tnt ii t~ ntrn~ no toter thin 30 dayo at Cr ho statement we~ made avattabta to cv For ‘nore complete
 details, see the Account Boise and Regidations or other appilcubta account agreement that governs your atcet,nt,




                                                                       ~tZN       JPMorgan Chase eank, N.A. Momber FOIC




                                                                                                                               Cam 4 a 4
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     CHASE 0                                                                              April 01, i2014 through April30, 2013
     JPM0r0-an Chase Bank, NA.
     PC Box 65975.1                                                                 Account Number:                             2939
     San Antonio TX 78265 . 9754

                                                                                  CUSTOMER SERVICE INFORMATION
                                                                                  Web site:                www.Chaise.com
    II   [II 11   I flU    ‘U,!     I    I   Mi     I ~l,i                        Service Conlor:           1-377-425-8100
    00032635DR9 703210 2314        NNHNNNr3xN I ccc-cmcoo 32 0300                 Deaf and Hard Of Hearing: 1-800-242-7383
    LUXE ONE INC.                                                                 Pars Espanol:             1-838-622-4273
    ~Oë Tor’ANeA CANYON BLVD UNIT 135                                             International Calls:      1-115-262-1579
    CHATS WORTH CA 91511-3602




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    Manage your Susinoss easier with Account Atone
    Chase offers Account Alertsl to help you manage all your business accounts. Choose
    Iho elerls and customize their setlings.
    Chase Instant Aclion AIerIs$M - Receive a text it your balance dips below zero or your
    preset limit. You can immediately respond wiIh a text Io transfer funds. ff5 fast, easy
   and helps you avoid potential fees,
    Daily AferIs - Monkor the transactions that exceed your lhreshnlds with a daily text or
   email from us.
   Secutily Alerts — Set dollar limits tordilferont transactions. including ATM withdrawals,
   debit card oolivlty, money transfers and online bill payments. Well send a real-Itme
   alert when a transaction exceeds your specilied amount.
   TO learn more, visit www.cheso.coni’bbaiens
    lThore is no charge from Chase. but mesoage and dale raleo may apply. Sudh charges include
   those from your comrnunicarions service provider. Delive&’ of alerts may he delayed for
   various reasons, inciudirig service outages atfectin0 your phone, w’,reless or internet
   prcvrder loot nology htlures and system capacity nhauons An) time you rev,ow your
   balarce keep In mind It n~sy lot relect a11 trans-’ct,ons inctudsng recent debit card
   transaotions or chocks you have wntter. A ~uali1ying Chase transfer account is required
   to Iranster funds ‘1la text.



j_CHECKING SUMMARY                            Chase Platinum Business Checkine
                                                  INSTANCES                      AMOUNT
Beginning Balance                                                        3772,03t02
Checks Paid                                               3               - 22,573.00

ATM & Dabit Card Withdrawals                             14               - 12106.51

Electronic Withdrawals                                    6               -51268,00
Fees and Other Withdrawals                                2                -   2,560.OD
Ending Balance                                           25              8683,518,51




                                                                                                                       I cI S
 Case: 1:17-cv-01640 Document #: 137-1 Filed: 06/27/18 Page 14 of 24 PageID #:4127




      CHA5F ~    -                                                                        And 01,2014 thrcu9h And 20. 2Q14

                                                                                      A000uni Mjrnber;                              2939

Your Chase Plalinum Susineas Checkrna account provides:
    No ansoci on fees br un1 filed &ec,ronlc dcpesits (it U.~ding ACH .~TM wire Chase Quick Deposit)
    500 dobits and non-eteotronic deposPs (those made via check or cash in branches) per statement cycle
    $25,000 in cash depesits per statement cycle
    Unfirniled return deposiled items wilh no Joe
There era additionat tea waivers and bsneflts assdc’ated with your account   —   please reter to your Deposit Acoaunt
Agreement (or more information.




eimct< ao.                      OATS
                  eascntpTloN   PAte     AMOUNT
1040 A                          04/08 317,078,00
1042 ‘~                       -
                                04/11   2000.00
1043 A                          04/17   3,500.00
—--~-~
Total Checks Paid                     522,578,00
II you see a description in he Chocks Paid section, Ii means Ihaiwe r000rved only electronic information about the check,
nut the oriqkial or an mace of the check, As a result, we’re not abto to return the check to you or show you nn lrnnrjo,
  Allot your recent checks may not he on his statement, either because hey ha’imi’l cleared yet or they were listed on
   one of your previous statements.
A An Image of this check may ha available Icr you to view on Chase.corn,




ATM& DEBrr~AnDW1TKDRAwALsI
 DAlE oescrilpTloN                                                                                                                    AMOUNT
04/01 Card Purchase        03130 American P3 00123346067 Dallas TX Card 0767                                                         $320.00
04’Oi Card Purchase        03/30 American A1 00123346057 Dattao TX Card 0767                                                          320 00
04/02 Card Pu chase        03’3t American A100tP3946521 Dallas t(Card 07b7                                                            58000
04/02 Card Purchase        03/31 FtdFtd,Cern 501’8336470 IL Card 0767                                                                  188,09
04)10 Card Pu chase        04/08 8ever y ‘Mlshlre ~ot OeJerty Hilts CA Card 0767             ——                        —              33906
04/10 Card Purchase        04/08 Scveriy Wilshire Hot Severly HdIs CA Card 0767                                                        134,96
04111 Card Purchase        04/09 Viceroy Seaside Sa Santa Monica CA Card 0767                                                           61.47
04/14 Card Purchase        04112 Charity Event- Abc 880-748-2323 IL Card 0767                                                       5,000,00
04/16 Card Purchase        04/15 D&ta Air 00623579031 DeiIa.Ccrn CA Cord 0767                                                       1.138,90
04/16 Card °urchase        0’/t5 Delta Air 00623573389 Delta Con’ CA Card 0767                                                      12/490
01/16 Recurnng Card Purchase 04/16 etch 205 25~ 24?~ WA Card 0757                                                                      14S99
04118 Ca d Purchase        01(17 Fedex 805005666037 600 4633939 TN Card 0767                                                            ~9I6
04)21   Card Purchase      04/17 AmerIcan Pd 00123354745 DaIlasTX Card 0787                                                         1169.98
01/21 Card Purchase        04/17 Amerlcsn P3 00123354745 Dallas TX Card 0787
Total ATM & Debit Catd Withdrawals                                                                                         512,106.61




L~TM & DEBIT CARD SUMMARY
James 0 Williams Card 0767
                        Total ATM Withdrawals & Debits                                                                                30.00
                        Total Card Purchases                                                                           $12,106.51
                        Total Card Deposits & Credits                                                                                 $0.00


                                                                                                                F~~e   2   u~   C
 Case: 1:17-cv-01640 Document #: 137-1 Filed: 06/27/18 Page 15 of 24 PageID #:4128




        CHA.SE         ~                                                       ApñiOl,aOI4rhrou1hAnri 30,2014

                                                                         Meant Number                              2939


ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                             $0.00
                          Total Card Purchases                                                              312,106,51
                          Total Card Deposits & Cred~ls                                                              $0.00



[g~,g~CTRbNiC WtThDRAWAL~j                                               _____—___                        _____


 DATE    DESCRIPTION                                                                                                AMOUNT
04/01    04/01 OnFne Wire Transfer Via: Wells Fargo NNl21000248 NC: Thunami Productions Inc.                  $2,058.00
         Redorido Beach CA 90277 US Rot: The Lettars Nrb mad: O4D1BIO000IC)008932 Trn:
         50654000915s
o~/0l 04/al Online Wire Transtor Via: Nicolet Nail 8an1d075917937 NC: Movie To Movomerrl                      11,250.00
         Holl~ood CA 90078 us Ret: The Letters mad: 04018100c030005245 Tm; 5D6990009lEs
04/li 0~/l I Orilne Wire Tran~le V a Cy Nail B~e LN1 2201 SOCS NC Ui ted Talon’ Ageic~ Client                      500000
         TibaverlyHills CA 90210 Us PcI: Plymouth Rinhts Payment mad: 041 t610qc0lC001094 Tm:
         32860001018s
04(i6 04/IS Online Wire Trais’er Via Bank ot Asnenca N A 0959 A’C Fidirheldaigs LLC                           1600000
         Calabasas CA 61302 US Ret: 4258 Temma Court San: 0175028 Tin: 3346300105Es
04’21 04/21 Onflne Wire transle V a Asso~iated Cm Bay(07V100576 NC ALa/0750009 .1                             12 500 CO
         Menomonea Fails WI 53052-nato Ben: Best And Flanagan dial TnJsminnoepolis MN 55402
         US Ref: Donnelly 018241-315001 Highgate mad: 042tBlOgc02C000975 Tm; 362980011 lBs
04(22 04122 Online Wire Transfer Via: 0hz Bus Bk Cnt/122234149 NC: Blue Room Post Manhattan                        3,860.00
         Beach CA 90266 US Rof; The Laliors P & A mad: 0422B1Ogc040001423 Tm: 32998n01 laBs
Total Electronic Withdrawals                                                                                $51 268.00


{ftEs AND OTHER W~THDRAWALSI
DATE    DESCRIPTION                                                                                                 AMOUNT
04/01 04/01 Withdrawal                                                                                        $2,500.00
04/03    Bar’, ice Charges For The Mon b of Marob         —                                                       6000
Total Fees & Other Withdrawals                                                                                $2,560.00

[oA~v E~DNä~ALAN~
DATE                                 AMOUNT                           DATE                                          AMOUNT
04/01                           8754,993.02                            04/14                                724,341,44
04/02                             754,214.93                           04/16                                705.777,65
04/03                             764,154.93                           04/17                                702,277.65
04/08                             7~7,O76.93                          04/lB                                 702,213.47
04/10                             736,402,91                          04/21                                 607,378,51
04/Il                            729,341.44                           04/22                                 663,518.51




                                                                                                   PL5O   a ci 6
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       C~                                                                           ApiS   01,2014 throushApril So. 2014

                                                                                Account Nurnheo                         52g39


~ERVkDE CHARGE SUMMARY]                                                    ________




Monthfy Service Fee                                                $0.00
Other SaMoa Charoes                                              520.00
Total Service Charges                                            flOOD
Your saMoa charges were waived for this slaternon~ cycle. We vahje your relailonshi p. and thank, you for yaw bankin0
business.


I SERVICE ci~ñGE DETAIL
DESCRIPTiON                                        VOLUtIS     ALLOWEG       CHAnCED          PRICE1UNIT                    TOTAl.
Menthty Serutca Foe
Mdnihiy SaMoa Fee Waived                                 0                                        595.00                    $0.00
Other Service Charqesr
Credits
N0’~.Eleoircnic Transactions                            24          500             0               50.40                   50.00
Miscellaneous Fees
Outqa~ng Wire. Donlestlo Onhne                           5             4            2             510.00
Subtotal Other Service Charges                                                                                              $20.00

ACCOUNT 0000002228829S9
Other Service Chargos,
Credits
Non Etecironie Transuedons
MFsceiiane~us Fees
Oulgaing Wire - Doniesoc Dotne                           Ii




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Case: 1:17-cv-01640 Document #: 137-1 Filed: 06/27/18 Page 17 of 24 PageID #:4130




     CHASE 0                                                                                       ~oril 01 2014 tIm   ui Acti 30 2u1
                                                                                              acxun PL-v,er                           2939




  Note Ensure your oheeisb~ok register Is up to 0215 wlh &l lran500ttons to date ~vho,hor ibo~ a’s incuded on your
       statomont or not                                                                                                                       _______




  I. V/rite In the Ending Balance shown en this statemont                                     Step I Ealanee’          ~_


  2 List and total all deposits & addttons not shown on this statement

                   Arm ourl           Oa’e           Anioc.rit            Onto          ?m.~un,                                               _____     N
                                                                                                                                              sea


                                                                                                  Stop 2 Total.         S,.
 3 Add Step 2 Total to Step 1 Eatanoe                                                             StepS Total           S
 4 List and total oil checks, ATM withdi awctls, debit card purchases and other withdrawals
   not shown on this statement,
   Ciiou~ Nurnhor or Dare           Aneunt              Chtcic Number Ør Dale            Amount




                                                                                                  Step 4 Total         .5     —_________


 S Subtract Step 4 Total from Step ~ Total This should match your Checkbook Balance’


 P1 CASE OF ERROPS Oil oursOons ABOUT YOUR ELECTRON’C Fuwas WANSr&RSCatl or ~v to us at t, C phone ru’rLo or add csc an
 the Iron of this statement fnon.pocsonol accounts conlaci Customer Serrice) it you ‘mt you sia’arnerl & ~oae’pi nuor-eci or a
  ‘ecU mon hro,n’.sFon about a monster listed c-i a staierrert or ‘ecelpI We rn~a: bccr from ~ou no late- ban 60 tiajs atie’ hO tart ‘at,
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            • The dotar amount of the suapecind o?ror
            • A dosclmptnon of the error or transfer ~ou are ups Jre oI, ssi’y you beliete it 6 an error or w’ny you nacd mur~ nfornnelmc’t
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  4 CASE OF ERRORS OR QUESTIONS AO0~T NON-ELECTRONiC TRANSACTtONS Contact the bans’ nneeuiateiy I? you? ri,tierr’arri is
 ,corren~ or if jou need more mnlorneapon about any non~ electronic lraisacl,cns (cheeks or depossis) on tii.s statement If any sue’, arror
 applia’s ytu must notify the bark ri v,nng no loior lien SO days plimr the stalerrient aae made av,inlabla to you For more complete
 ceioaa, sea the Account Rules and Raqijtammomu or othor ~‘po cabe account ep”aot~ 0—i that go/errs your account




                                                                      ffni’3i~   J°Morpan Chase Bent, N A Member FOiC
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   C HAS -me
         ~                                                      AprU 01, 2014 through AprU 30, 2014

                                                             Account Number                          2939




                          Thts Page ntentionaHy Left Stank




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Case: 1:17-cv-01640 Document #: 137-1 Filed: 06/27/18 Page 19 of 24 PageID #:4132




     CHA5E
    .3PMorgan Chase Sank, NA.
                               o                                                  Ap2 01,201$ Through Aprt 30, 2014
     P 0 Box 855754                                                           Aeccunt Numijer:                   2853
    San Mtorjo, 0<70265        ‘9io4

                                                                           CUSTOMER SERVICE INFORMATION
                                                                          Web site:                 www.Chase.com
    1111(1;; i_fl   I nfl ii
                    , II. I l..I.,~ llI~ ‘i_i iii                         Service Center:            1-677-425-8100
                  $2314 NNSN1$NN.N14NI4T I 0tc000000 07 0030
    ~t~S2VkE 703 142                                                      D~jai and Hard of Hearing: 1-800-242-7353
    MOMENT F$CTOFY LLC                                                    Para Espanot:              1-885-622-4273
    9909 TOPANeA CANYON BLVD UNIT 135                                     lnternrtbonai Calls:       1~71 3-262-I 679
    CHATS WORTH CA 91311-3602




                                                                                                                           S


    Manage your Business oasier with Account Aieris
    Chase otters Account Atonal to help you manage all your business accounts. Choose
    the alerts and customIze their aellings.
   Chase Instant Action AtenoSM. Receive a text if your balance dips below zero or your
   preset itmit. You can immediately rospond with a text to transfer iunds. Ifs fast easy
   and helps you avoid potential ices,
   Daily Alerts - Monitor [he trAnsactions that exceed your thresholds with a daily text or
   email from us.
   Security Alerts - Sot dollar fmls for different transactions, Including ATM withdrawals,
   debit Oard acdvity, mcney transfers and online hit payments. We’ll send a real-time
   alert when a transaction exceeds your specified amount.
   To learn more, visit ~wm,cI’ase.com’bbatons
   IThere is no charge from Chase, but message and data races may apply. Such. oharses include
   those from your coriin,tinlcations service provider. Delivery of alerts may be delayed for
   various reasons, including service outages affecting your phone, wireless or internet
   provider technology failures ~nd systom oapr’crty hnlttabons Arty tnic’ you revie~ ‘your
   balance, keep in mind it may not reflect alt transactions including recent debit card
   transactions or eheuks you have wrinen. A qualifying Chase transfer account is required
   to transfer tunds via text.



CHEOKfiNG SUMMAFIyj                    Chase Platinum Business Chocking
                                          iNSTANCES                       AM0uHT
Beginning Balance                                                   3100908,64
Deposits and Additions                             I                   38,1 62.08
ATM& DebitCard Withdrawals                        12                 - 13,135,12

Electronic Withdrasris                             4                 ‘62,650.00
Fees and Olher Withdrawals                                               -381.51
Ending Balance                                    21                 362,904,09




                                                                                                       5,13fl   I   c4 U
 Case: 1:17-cv-01640 Document #: 137-1 Filed: 06/27/18 Page 20 of 24 PageID #:4133




        CHt~5E ~                                                                    April 01,201      thrsuqh April30, 2014

                                                                                Account   tlurnbs,:                             2853

Your Chase Platinum Businass Checking account provides:
  • No Iransaction fees for unlimited elecironic deposits (including ACM, ATM, wire, Chase Quick Deposin
    500 debIts and non-electronic deposits (those made via check or cash in branches) per statement cycle
    825000 in cash deposits per statement cycle
•   Untimhed return deposIted items with no lee
There are additional fee waivers and benefits assctiated with yOur account please refer to your Deposit Account
Agreemeht for more information.

~oi’jTrAnDr~1                                                                                   _______



 DATE       DESCRIPTION                                                                                                          AMOUNT
04/02      Fedwire Credit Via: First American Trust, Fob1122241255 910: First American ‘title                            $38,182.08
           Company Scottsdale AZ 85258 Aol: Chase NyciCtri8nM4cment Factory LLC Charsworth,
           CA 9131 13602/Ac-000000005193 Rtb=G’B Fst Am Ti CO 0bi~Buyer Rotund, Ref.
           Calabasas Esciniad: 04O2L1878J1C000520 Tm: 2297709092Ff
Total Deposits and Additions                                                                                             536.162,08



jATM&DTcA~WrHDRA~
 PATE    DESCRIPTION                                                                                                             AMOunT
04/02    Card Purchase       04/01 PU. Chang’s #4200 Woodland Hilt CA Card 8108                                                   867.67
04/03    Card Purchase       04/01 American Al 00123346921 DaflasIXGaruelQs                                                     1,02642
04)03    Card Pujohace       04/01 Anicncan Ar aol 7334$°2 Oaths TY Card Cl Cd                     ——                           1 02642
04/03    Card Purchase       04/01 American At 001 23346921 Dallas TX Card 6108                       __________                1026.42
04/03    Card Purchase       04/UI American Ai 00123346921 Dallas TX Card BIOS                                         —        1,O26.42
04/03    Card Purchase       04/01 AmerLcan At 00123346927 Dallas TX Card 61dB                   —.____________                 1,026.42
04/03    Card Purchase       04/01 American Ai 00123346921 Dallas TX Card 6108                                                  1,026.~2
04/03    Non-ChCSeATM Withdraw 04/03 21520 Victory8lvdWoodlandHrtiCA Card 6106                                                    502.95
01/03    Recurring Card Purchase 04102 Nntflix.Com Netflix.Comn CA Card 6108
04/14    Card_Purchaso       04/11 Paypal ‘Dovelounde 402-935-7733 CA Card 6108                                                 3,400.00
04/16    Caro Purchase       04)16 Onh Godadd1 Corn 480 50~ 8855 AZ Card 6,08                                                     27224
01/Is    Card Purchaje       04’lS Sptogot And Uuer, PC die 9363 700 CA Card 6108                                               2 725 7~
total ATM &Dcbit Card Withdrawals                                                                                        315.13512




L~LM &       D.EB~T CARD SUMMARY
James C) WUliarns Card 6103
                          Total ATM Wrthdrawals & Debits                                                                        $502.95
                          Total Card Purchases                                                                          812.63217
                          Total Card Deposils & Credits                                                                           $0.00
ATM & Debit Card Totais
                          Total ATM Withdrawals & Debits                                                                        $502.95
                          total Card Purchases                                                                          $12,632.17
                          Total Card Deposits & Credits                                                                           $0.00



                                                                                                                PMr~   a ,r B
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        CHASEO                                                                          Aprd Ut, 201$ htoiigh April30, 201$
                                                                                    Accou:rt Nu’nber;                    2353


[gLECmONIC WitFib~AWAgs
OAT9       oEsc9IPTloN                                                                                                  AMOUNT
04/01      04/01 Online Wtrc   irañsfor Via: Union Oank NNOO4O   NC: La~’t Offices of Alian M.                        $2,070.00
          Kassirwoodlond HWsCA 91364 US Ret: CamsAcel. RaviewS~n; 0416132 Tm; 5O6190009lEs
04/10     04/tOOnline Wrrh Transfer Via; Santandor Slv23ISi’2~9I NC: The Preservation Advisor                         1056000
          GroupnewvorkNY 10002 US mad: O4IO9lQ0008000iSS4Trn;3326100i006s
04/li     04/il Online Trarisferto Chic .1572 Transactionli: 3359408703                                               25009.00
04/11     04/Il Online TransferTh Chk .3966 Transactioqo: 3859410155                                                  25000,00
-

Total Electronic Wittdrawafs                                                                                        562,650.00    g


JFEESANDOTHERw!Tf45’~AwALs                                                                        —.___


 OATS     OEScRtPTIOM                                                                                                   AMOUNT
04/03      Service Charges For The Month ci March                                                                        395.00
04/24     Card Purchase    —       OPiCrandhyatt Diw fl8 Oaf as 1X       O44274~7041905iO8                               23 56
O4tpt     Card Psrchase            0422Lax Airport Lot P3 Los Ango’es CA 01’2742/012906108                                3d CD
04/24     Card Purchase            0422Th6 Parking Spot 32 LosAngeles CA 0~~2742704390810a                                18MB
Total Foes & Other Wlthdrawais                                                                                          3381.51


LP~LYEND~NdiALAN~Ei
OATS                                                          AMOUNT
04101                                                   398,538,64
04/02                                                    136933.05
04/03                                                   130,166.59
04/10                                                   119,568.59
04/11                                                    69,586.59
04/14                                                    66,188,59
04/16                                                    63,190.60
04/24                                                    62,904.09

I SERVICE CHARGE SUMMARY                                                                         —________



Monthly SaMoa Fee                                                   595.00
Other Seftice Charges                                                $0.00
Total Service Charges                                               S95.00

Your seMce dharges were waivedforthls statement cycle. We value your relationship, and thank you foyour banking
business.


~3ERVICE CHARGE DET~OdLj
OESCI1IPTION                                        vOtUht&       ALLOWSO       cIlAROSO         P810W UNIT             TOTAL
Monthly Servlco Fee
Monthly Serake Foe                                                                                      £95.00          896.00
No khissle Fees
ATM - Non Chzno Withdrawal                                                                               $2.00           Soon
Other Service Charges;
Electronic credits
Electronic Credho                                         I       Unlim4ed                               80.40           80.00
Credits
WonElootrerjo TransactIons                               14            Eoo                               $0.40           50.00
Electronic Qradlts
1ncorn,n~V.9res. Oornestic                                        Untnriled             0               $10.00          $0.00
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       CHA5E~~                                                          ApPi0i~20I4 throu9h~pril~0 20K
                                                                    Actouri Number:                  2853


SER\qCE CHARGE DETAJL1              (corrlfttuod)
DESCRIPTION                              VOLUME         ALLOWED   CHARGED     PRICE/UNIT                  iota
Miscrilaneous Fees
Cuigoino Wre-Dcmcssico’stine                        2         4         0          31000                   90,00
Subtotal Other Service Charges                                                                            595-00

ACCOUNT 000000519372653
 Monthly Service Fee
Monrhiy Servic3 Fee
 No hassle F~os
ATM Non Chase W~thdrawoJ
Other Service Choroes:
 Electronic Credits
E!couonb CreUiis
Credits
Non~ EleNronic Transar:ijons                    Is
Electronic Crcdfts
lnccrrsir.~ Wires - Dorneshic
Miscellaneous Foes
Ourgoh,ç, V/ire - Dorouslic Crime                   2




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Case: 1:17-cv-01640 Document #: 137-1 Filed: 06/27/18 Page 23 of 24 PageID #:4136




     CHA5EQ                                                                                      /ipriO1 ?Oi4 lnieii5q Apn[ 30 2014
                                                                                             Ac[.eLni Ni,rnøor                           2a53




  Halo Ensure your cliookbzok rcaistcr            is   up to nate yin nfl transactions to dote ‘whether !nOj am included on ye-li
       statement or not

  1 Write hi the Ending Batanco shown on this statement                                      Slop 1 Balence:       $~

 2 LIst and total all deposits & addItions no’ shown on mis statement,
    rise          /vnoirnt            0 Ic             Apojnt           tise          An,o~n’




                                                                                                Step 2 Total        S
 ~ Add Step 2 Total to Stoc I Balance                                                           StepS Total         S
 4 List and total all checks, ATM withdrawals, cebit card purchases and other withdrawals
   not showiton this statenent
   C~oc~ Nunser a- Dote            Mr curt               Cheat Nsmber or Oae            Anew




                                                                                                Step I Total’      -S_.,_,~,,,
 5, Subtract Step 4 Total train StepS Total ThIs should match your Checkbook E3a1arjcc-                             $



 IM CASE OF   Ennoas OB QUESTIONS ABOuT voun ELEOTS1OhIC ruNes TRANgrEaS 0010’ wIe usal “a 00000 rumba or address on
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   oe’l no-a pitorination abouto hinsler i1aied en be steenant or race Pt Wa ‘must hcar rem you re law, han 60 daas alter we snnt ~
 ml o FIPST statement on ih,00 the problen or error appearrd Be p-opered to g-ro is Ihe ‘crowit’g nlenno c-i
            • Your name ar-S actoi • 1 MoSer
            • The ~ottar amount of tile SL’pecled error
            • A description of the cue’ Panda )ru are tins ‘aol -rha eu betave Its an error. or why jct~ need irQ,e no- nile-i
 We wi I -nesfljeto jour cornplaot ard wit correct a ‘y error promptly I we Into score thai IC bistoocs dan (or Pot tistrost days for
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Case: 1:17-cv-01640 Document #: 137-1 Filed: 06/27/18 Page 24 of 24 PageID #:4137




   CHASE 0                                                       A94 01. 2014 Gwo’q’Apd 30, 2014
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